                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

UNITED STATES OF AMERICA               )
                                       )       No. 20 CR 369
      v.                               )
                                       )       Judge Martha M. Pacold
MARTIN CROSSLEY                 )

                 GOVERNMENT’S AMENDED EXHIBIT LIST

      The United State of America, through its attorney, John R. Lausch, Jr.,

United States Attorney for the Northern District of Illinois, hereby submits the

attached Government’s Exhibit List for the upcoming trial in United States v.

Martin Crossley set to begin on September 8, 2021.

      The government reserves the right to supplement this exhibit list as

necessary before and during trial.



Dated: August 26, 2021                         Respectfully submitted,

                                               JOHN R. LAUSCH, JR.
                                               United States Attorney

                                       By:     /s/ Cornelius A. Vandenberg
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                                           1
                        Government’s Exhibit List


  Exhibit                               Description

GX001       Suspect description sheet filled out by Vega-Jones

GX002       Bait bills sheet

GX003       Vega-Jones’s written statement from 7/11/20

GX004       Suspect description sheet filled out by Ortiz

GX005       Ortiz written statement from 7/11/20

GX006       Teller drawer audit sheet and computer printout

GX007       Ortiz Photo array with signed instructions

GX008       Suspect description sheet by Watkins

GX009       Watkins photo array with signed instructions

GX010       Photo of apartment smoking area/Rodriguez porch

GX011       WGN news article https://wgntv.com/news/fbi-looking-for-
            man-after-glen-ellyn-bank-robbed-saturday/

GX012       Initialed DL photo of Crossley

GX013       Initialed photo of robber

GX014       Initialed photos of grey car

GX015       Map of area marked by Prokopiak

GX016       Email from Prokopiak to Shanna

GX017       Images of robber used in GJ (GJ Exhibits 2 and 3)

GX018       Texts from Theresa to Tracy


                                           2
GX019    Images of robber outside of bank

GX020    Text messages from Rick to Crossley accusing him of being the
         robber
GX021    Image of robber sent by text to Shanna Saunders

GX022    Texts between Marski and Crossley on July 11, 2020

GX023    Final version of CAST report

GX023A   CAST Report Excel Spreadsheet
GX024    June 24 – July 9, 2020 call detail records from T-Mobile

GX025    July 10 to July22, 2020 call detail records from T-Mobile

GX026    Subscriber info

GX027    July 10 to July 16, 2020 timing advance data records from T-
         Mobile

GX028    T-Mobile records that accompanied their production

GX029    Swabs/pictures of swabs

GX030    FDIC certificate

GX031    Discover card records

GX032    Glen Ellyn Bank/Wintrust bank records

GX033    Summary Internet Search BOA and Wheaton Bank & Trust

GX034    Nokia phone recovered from Crossley on arrest

GX035    LG phone received from Crossley arrest

GX036    Photo of Apartment Complex

GX037    Pet Supplies Still Photo

GX038    Pet Supplies Map

                                    3
GX039   Pet Supplies Map - 2

GX040   Still Picture Hands

GX041   Still Picture Hands -2

GX042   Crossley Wallet – Physical Evidence

GX043   Bank Cards (from Crossley wallet) – Physical Evidence

GX044   Map – Lorraine to BOA

GX045   Map – Lorraine to Wheaton Bank & Trust

GX046   Map – Lorraine to Glen Ellyn Bank & Trust

GX047   Photo – Martin Crossley

GX048   Photo 2 – Martin Crossley

GX049   Photo – bank robber

GX050   Photo 2 – bank robber

GX051   Stipulations

GX052   Picture of wallet

GX053   Picture of cards from wallet

GX054   Picture – Nokia Phone

GX055   Picture - Phone

GX056   Picture – Phone 2

GX057   Picture – Bank Cards (2)

GX058   Photo 3 Martin Crossley

GX059   Photo 3 Bank Robber – Side Profile


                                    4
GX060     Photo 4 Martin Crossley

GX061     Summary Exhibit Wintrust Transactions (modified from former
          Exhibit 61-A to include July 10 transactions)
GX062     Summary Exhibit Discover Transactions

GX063     Booking photographs of Crossley
GX064     Fox 32 News Report of Bank Robbery
GX065     Elizabeth Talley Laboratory Report
GX066     Swabs from Interior Door (physical evidence)
GX067     Swabs from Customer Side of Teller Counter (physical evidence)
GX068     Swabs form Teller Counter under Partition (physical evidence)
GX069     Buccal Swab of Marisol Vega-Jones (physical evidence)
GX070     Buccal Swab of Martin Crossley (physical evidence)
GX071     Crossley Plea Agreement in NDIL Case No. 12 CR 958
GX072     Photograph of Demand Note in November 30, 2012 Robbery of
          First Merit Bank in Des Plaines, IL

                   Audio/Video Exhibits
GX100     All bank videos

GX100-1   Lobby view

GX100-2   Teller Line #2

GX100-3   West Front Door

GX100-4   Teller Line #1

GX100-5   Bank Video – Command Player

GX200     Pet Supplies Video

GX300     Surveillance Video of November 19, 2012 Robbery of PNC
          Bank in Buffalo Grove, IL
GX400     Surveillance Video of November 29, 2012 Robbery of Fifth
          Third Bank in Oak Brook, IL
GX500     Surveillance Video of November 30, 2012 Robbery of First
          Merit Bank in Des Plaines, IL




                                    5
